                               UNITED STATES DISTRICT COURT FOR THE                   FILED
                          EASTERN DISTRICT OF TENNESSEE AT CHATIANOOGA
                                                                                           AUG 2 7 2015
 MartinS. McKay,                         *                                 C!en. . , LJ. S. 01stnct Court
                                         *                               Eastern Drstrict of 1ennessee
          Plaintiff,                     *                                      At Cha~tanooga
                                         *
 vs.                                     *            CASE NO. - I : I5~ c v .. ~4
                                         *
 Mark Goins,                             *            Judge- OOt.tttitL L(:L
                                                                          I
                                                                                    J
          Coordinator of Elections       *
          State of Tennessee,            *
                                         *
 Tre Hargett,                            *
         Secretary of State              *
          State of Tennessee,            *
                                         *
 Kerry B. Steelman,                      *
         Administrator of Elections      *
          Hamilton County, Tennessee,    *
                                         *
          Defendants                     *
                                         *
 ************************************************************************************

                                         COMPLAINT

        The complaint of Martin S. McKay, of full age and a resident of, and domiciled in the


 County of Hamilton, State of Tennessee, brings this action to secure his right to vote.



                                             Paragraph 1


        On October 14, 1998, plaintiff filed suit in this court against several State and Hamilton


 County defendants seeking to enjoin them from requiring a Social Security Number ("SSN") as


 a pre-requisite to register to vote in Tennessee, McKay v. Thompson, eta/, E. D. Tenn. 1:98-cv-


 354; plaintiff did not prevail. Plaintiff appealed to the Sixth Circuit Court of Appeals and did not




                                                                    Page#:11
Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 1 of 13 PageID   1
 prevail. See McKay v. Thompson} 226 F.3d 752 (6th Circuit} 2000). Plaintiff filed a


 Petition For Certiorari to the United States Supreme Court and certiorari was denied


 (Supreme Court File No. 00-1111). In November} 2000 1 plaintiff filed suit against substantially


 the same defendants as in 1998 (E. D. Tenn. No. OO-CV-0378L based on a finding by the Sixth


 Circuit that if a person is denied the right to vote "during an electionn then there is a basis for


 suit; relying on Lawson v. Shelby County1 Tennessee} 211 F. 3d 331 (6th Cir 2000). The suit filed


 by plaintiff in 2000 was dismissed.



                                                Paragraph 2


        Subsequent to the proceedings cited in paragraph 11 in 2003 the Eleventh Circuit Court


 of Appeals decided a case which is directly on point concerning one of the essential claims


 made by plaintiff in 1998. See Schwier v. Cox} 340 F.3d 1284 (11th Circuit 1 2003}. In Schwier} the


 Eleventh Circuit reached an entirely different conclusion than the Sixth Circuit in McKay v.


 Thompson. This action is brought to enable the Courts of the Sixth Circuit to review the


 holdings of the Eleventh Circuit in Schwier.



                                             Paragraph 3


        Mark Goins} defendant herein} or his successor} is the Coordinator of Elections for the


 State of Tennessee. The Division of Elections is an organizational unit ofthe State of


 Tennessee} Department of State.



                                             Paragraph 4




                                                                    Page#:12
Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 2 of 13 PageID   2
            Tre Hargett, defendant herein, or his successor, is the Secretary of State for the State of


 Tennessee.



                                                      Paragraph 5


            Kerry B. Steelman, defendant herein, or his successor, is the Administrator of Elections


 for the Hamilton County Election Commission, in Hamilton County, Tennessee.



                                                      Paragraph 6


            The jurisdiction of this Court is based upon 28 USC§ 1331, as this civil action concerns

                                                                                                  1
 the laws and statutes of the United States, specifically 52 USC§ 10101(a)(2)(B) and 42 USC


 § 1983.


            The statute, 52 USC§ 10101(a)(2)(B), states in pertinent part,


            "No person acting under color of law shall ... deny the right of any individual to vote in any
             election because of an error or omission on any record or paper relating to any application,
             registration, or other act requisite to voting, if such error or omission is not material in
             determining whether such individual is qualified under State law to vote in such election;"


            Further, this federal statutory right may be enforced by 42 USC§ 1983, which states


 in pertinent part,


            "Every person who, under color of any statute, ordinance, regulation, custom, or usage,
             of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
             any citizen of the United States or other person within the jurisdiction thereof to the
             deprivation of any rights, privileges, or immunities secured by the Constitution and laws,
             shall be liable to the party injured in an action at law, suit in equity, or other proper
             proceeding."


 1
     Please note that Title 52 is a new addition to the U.S. Code as of September, 2014; at the time of plaintiff's
     litigation in McKay v. Thompson and also the Schwier decision by the Eleventh Circuit, the appropriate section
     of the Civil Rights Act of 1964 was codified at 42 USC 1971(a)(2)(B).




Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 3 of 13 PageID
                                                                    Page#:13
                                                                           3
                                                     Paragraph 7


            Venue in this district is proper pursuant to 28 USC§ 1391(b) as plaintiff is a resident of


 this district and defendant Steelman is employed in this district and a substantial part of the


 events giving rise to plaintiff's claim arose in this district.



                                                     Paragraph 8


            Plaintiff has a private right of action to enforce 52 USC§ 10101(a)(2)(B) through


 42 USC §1983 as held by the Schwie? court. See Schwier, Section E, para. 56-72, pp. 1294-


 1297.



                                                     Paragraph 9


            Since this action involves the basic right to vote, plaintiff is not required to exhaust


 administrative remedies under 52 USC§ 10101(d). The Schwier court observed that,

            11
                 Congress removed procedural roadblocks to suits under§ 1971 by specifying that
                 there was no requirement that a party exhaust judicial or administrative remedies
                 before bringing suit." See Schwier, Section E, para. 66, p. 1296.


 Further, 52 USC§ 10101(d) states, in pertinent part,

            11
                 The district courts of the United States shall have jurisdiction ... and shall exercise the
                 same without regard to whether the aggrieved party shall have exhausted any administrative
                 remedy or remedies that may be provided by law."



                                                    Paragraph 10




 2
     See explanation of Note 1.


                                                                    Page#:14
Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 4 of 13 PageID   4
         In the opinion of the District Court in McKay v. Thompson, pertaining to whether a


 social security number is material to determining an applicant's qualifications to register


 to vote, the court made a finding of fact and conclusion of law that the SSN is not material


 in determining an individual's qualifications to vote, as per the following excerpt:

         "McKay makes a persuasive argument his SSN is not 'material' to determining his qualification
          for voting; and therefore, his omission of that information cannot be grounds for refusing his
          registration. He argues the qualifications for voting are set forth at Tenn. Code Ann.§ 2-2-102 and
          basically require only that the voter is a resident who has maintained the age of majority (18). SSN's,
          McKay maintains, are used only to determine whether a registrant is trying to perpetrate a fraud on
          the polls and not whether the person is in fact qualified to vote." See the Court's opinion at p. 11-12.


        With the finding that "McKay makes a persuasive argument his SSN is not 'material' to


 determining his qualification for voting", the District Court also held that plaintiff lacked


 standing to enforce 42 USC§ 1971(a)(2)(B}, now 52 USC§ 10101(a)(2)(B}, through a private


 right of action. Since we now know from Schwier that there is a private right of action, it may


 be concluded that plaintiff would have prevailed in McKay v. Thompson. Further, it may


 also be concluded that there has been a continuing abridgement of plaintiff's right to register


 to vote, and by extension, of his fundamental right to vote. It is settled law that where courts

 have erred in statutory construction, it does not mean that the statute itself was not still


 effective and operative. Therefore, even though the courts of the Sixth Circuit erred in

 McKay v. Thompson, the private right of action has always existed to enforce 52 USC §


 10101(a)(2)(B) through 42 USC§ 1983.

        " ... the provision giving the Attorney General the right to bring a civil suit under§ 1971 was not added
        to§ 1971 until1957. Therefore, from the enactment of§ 1983 in 1871 until1957, plaintiffs could
         and did enforce the provisions of§ 1971 under§ 1983." See Schwier at p. 1295.


        Further, in giving the Attorney General the right to enforce§ 1971, the House Judiciary



Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 5 of 13 PageID
                                                                    Page#:IS
                                                                           5
 Committee stated the bill's purpose was "to provide means of further securing and protecting


 the civil rights of persons ... ". (emphasis added) Therefore, "nothing in the report suggests that


 the Committee intended the provision granting the Attorney General authority to bring suit, to


 foreclose the continued use of§ 1983 by individuals." See Schwier at p. 1295.



                                                      Paragraph 11


            In October, 2013, simply out of curiosity as to how his previous case had been utilized


 by the courts in the intervening years, plaintiff did some research and found the Schwier case.


 The Schwier court was actually critical of the Sixth Circuit's decision in McKay v. Thompson:

            "In McKay, the Sixth Circuit relied entirely on Willing v. Lake Orion Community Schools Board of
             Trustees, 924 F.Supp. 815, 820 (E. D. Mich. 1996}, which in turn relied entirely on Good v. Roy, 459
             F.Supp. 403, 405-06 (D.Kan. 1978). Thus, the extent of the analysis relied on by the Sixth Circuit
             is the following from Good: "Furthermore, subsection (c) provides for enforcement by the Attorney
             General with no mention of enforcement by private persons ... the unambiguous language of Section
             1971 will not allow us to imply a private right of action. However, ... the Supreme Court found that
             other sections of the Voting Rights Act, 42 USC§§ 1973c and 1973h, respectively, could be enforced
             by a private right of action, even though those sections also provide for enforcement by the Attorney
             General." (See Schwier at para. 58-59, p. 1294.)




                                                     Paragraph 12

            Realizing that the courts of the Sixth Circuit had reached an incorrect conclusion in


 McKay v. Thompson, plaintiff again sought to vindicate his right to register to vote. On August


 29, 2014, plaintiff went to the office of the Hamilton County Election Commission and spoke


 with Mr. Kerry Steelman. In this conversation, plaintiff attempted to register to vote without


 providing the SSN and made Mr. Steelman aware of the Schwier decision by the Eleventh


 Circuit.



Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 6 of 13 PageID
                                                                    Page#:16
                                                                           6
         Later in the day on August 29, 2014, plaintiff realized that the questions pertaining to


 U.S. citizenship and attaining 18 years of age were inadvertently left blank on the application


 which was given to Mr. Steelman that morning. Therefore, plaintiff returned to the office of


 the Hamilton County Election Commission and completed a new voter registration form with


 those fields appropriately filled in.


         Not having heard anything back from Mr. Steelman, plaintiff sent a letter to Mr. Mark


 Goins, Coordinator of Elections for the State of Tennessee, on October 3, 2014, complaining of


 the requirement of providing SSN in light of the Schwier decision. A copy of this letter was sent


 to Mr. Steelman as well as Mr. Tre Hargett, Secretary of State for the State of Tennessee.


 Plaintiff received a letter dated November 24, 2014, from Mr. Goins on November 28, 2014,


 indicating that they had reviewed the legal situation and essentially concluded that the Schwier


 case was not applicable to Tennessee. Plaintiff next received on December 9, 2014, a


 notice from the Hamilton County Election Commission that his application to register to vote


 was not complete.



                                              Count/

                                           Paragraph 13


        Plaintiff alleges paragraphs 2 through 9 and paragraphs 11 through 12. On August 29,


 2014, a voter registration application was delivered to the Hamilton County Election


 Commission with the social security number blank on the application form.




Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 7 of 13 PageID
                                                                    Page#:17
                                                                           7
                                            Paragraph 14


          According to T.C.A. § 2-2-102, every citizen who is eighteen {18) years of age or older


 who is a resident of the State of Tennessee and a resident of the county in which he offers to


 vote is a qualified voter. An SSN cannot serve as evidence that an individual is "eighteen years


 of age or older" because an SSN may be obtained prior to the age of eighteen. An SSN cannot


 be used to evidence an individual's residency status because the assignment of an SSN is not


 dependent on a person's place of residence. An SSN serves as no evidence that a prospective


 voter is disqualified to vote by reasons of Infamy, or on any other basis; deferring to the


 Social Security Administration to detect or prevent fraudulent applications for SSN which might


 be obtained to allow fraudulent repeat registration by an individual wanting to vote more than


 once in any given election does not assure any detection of such fraud, but merely detection of


 the fraud in the hands of another government agency, the Social Security Administration.



                                            Paragraph 15


        Plaintiff alleges that SSN has never been "material" in determining an individual's


 qualifications to vote, but that Tennessee uses an SSN only for the express purpose of


 determining if an individual is attempting to commit fraud by trying to register and vote


 more than once, but not to determine whether the applicant is in fact qualified to vote.


 Therefore, plaintiff has the statutory right under 52 USC§ 10101{a)(2)(B) to omit the


 information from the registration form. As a result, plaintiff alleges that the defendants herein,


 violated his right to register to vote on August 29, 2014.


Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 8 of 13 PageID
                                                                    Page#:18
                                                                           8
                                             Paragraph 16


         Plaintiff asserts that a private right of action exists to enforce the Civil Rights Act of


 1964, 52 USC§ 10101(a)(2)(B) through 42 USC§ 1983. See Schwier, Section E, para. 56-72,


 pp. 1294-1297.



                                             Paragraph 17


        Plaintiff requests that the Court take judicial notice of the opinion filed by the


 Eleventh Circuit in Schwier v. Cox, that the Civil Rights Act of 1964 did indeed contain a private


 right of action through 42 USC § 1983. Also, that in the Schwier case previously cited, the


 Eleventh Circuit remanded to the District Court for additional proceedings. In that case, the


 District Court ultimately held that the State of Georgia violated the plaintiff's right to register to


 vote because the SSN "is not material" to determining the applicant's qualifications under


 42 USC§ 1971(a)(2)(B), now 52 USC§ 10101(a)(2)(B). This was upheld on appeal by the


 Eleventh Circuit. See Deborah Schwier v. Cathy Cox, 439 F.3d 1285 (11th Cir. 2006). Further,


 that this Court held in McKay v. Thompson, that SSN was not material in determining plaintiff's

 right to register to vote as outlined in paragraph 10 of this Complaint.



                                               Count II

                                             Paragraph 18


        Plaintiff re-alleges paragraphs 2 through 9 and paragraphs 11 through 12. On August




Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 9 of 13 PageID
                                                                    Page#:19
                                                                           9
  29, 2014, a voter registration application was delivered to the Hamilton County Election

  Commission with the city and state of birth blank on the application form.



                                              Paragraph 19


           According to T.C.A. § 2-2-102, every citizen who is eighteen (18) years of age or older


  who is a resident of the State of Tennessee and a resident ofthe county in which he offers to


  vote is a qualified voter. The city and state of birth cannot serve as evidence that an individual


  is a resident ofthe state and county in which he offers to vote as a qualified voter. With the


  large transient population that the United States has as a part of it's demographic and cultural


  heritage, the city and state of birth cannot evidence in any way that a person is currently a


  resident ofthe State of Tennessee or Hamilton County, Tennessee.



                                              Paragraph 20


          Plaintiff alleges that city and state of birth is not "material" in determining an


  individual's qualifications to vote, but that Tennessee uses it for no viable purpose associated


  with determining if an individual is in fact qualified to vote. Therefore, plaintiff has the


  statutory right under 52 USC § 10101(a)(2)(B) to omit the information from the registration

  form. As a result, plaintiff alleges that the defendants herein, violated his right to register to


  vote on August 29, 2014.



                                              Paragraph 21


         Plaintiff asserts that a private right of action exists to enforce the Civil Rights Act of




Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 10 of 13 PageID
                                                                    Page #: 10
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  1964, 52 USC§ 10101(a)(2)(B) through 42 USC§ 1983. See Schwier, Section E, para. 56-72,


  pp. 1294-1297.



                                              Count Ill

                                            Paragraph 22


         Plaintiff re-a lieges paragraphs 2 through 9 and paragraphs 11 through 12. On August


  29, 2014, a voter registration application was delivered to the Hamilton County Election


  Commission with the telephone number blank on the application form.



                                            Paragraph 23


          According to T.C.A. § 2-2-102, every citizen who is eighteen (18) years of age or older


  who is a resident of the State of Tennessee and a resident of the county in which he offers to


  vote is a qualified voter. The telephone number cannot serve as evidence that an individual


  is a resident of the state and county in which he offers to vote as a qualified voter. With the


  large portion of the general population which now uses a cellular telephone as their primary


  method of telephonic communication, the telephone number cannot evidence in any way that


  a person is currently a resident of the State of Tennessee or Hamilton County, Tennessee.


  This is because many people now keep their cellular telephone number from another state


  when they move to a new location.



                                            Paragraph 24


         Plaintiff alleges that telephone number is not "material" in determining an



                                                                    Page 111
Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 11 of 13 PageID #: 11
  individual's qualifications to vote, but that Tennessee uses it for no viable purpose associated


  with determining if an individual is in fact qualified to vote. Therefore, plaintiff has the


  statutory right under 52 USC§ 10101(a)(2)(B) to omit the information from the registration


  form. As a result, plaintiff alleges that the defendants herein, violated his right to register to


  vote on August 29, 2014.


                                             Paragraph 25


         Plaintiff asserts that a private right of action exists to enforce the Civil Rights Act of


  1964, 52 USC§ 10101(a)(2)(B) through 42 USC§ 1983. See Schwier, Section E, para. 56-72,


  pp. 1294-1297.


         WHEREFORE, plaintiff prays that this action be filed and that after due proceedings had,


  a judgment be entered in favor of plaintiff and against all defendants declaring that social


  security number, city and state of birth, and telephone number are not material in determining


  an individual's qualifications to register to vote. Further, that an Order be entered permanently


  enjoining the defendants, their agents and successors in office, and all persons acting in concert


  with any ofthem, from continued requirement of an individual to disclose their social security


  number, city and state of birth, and telephone number, as a prerequisite to registering to vote.



                                                         Respectfully submitted,


                                                   -~~¥~
                                                            Martin S. McKay
                                                            P. 0. Box 16006
                                                            Chattanooga, TN 37416
                                                                (423) 580-6876


                                                                                            Page 112
Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 12 of 13 PageID #: 12
                                      Certificate of Service


         I certify that a true and correct copy of the foregoing Complaint was served
  upon the defendants herein, as well as the Attorney General of the State of Tennessee,


         Mr. Mark Goins, Coordinator of Elections
         State of Tennessee
         Snodgrass Tower, ih Floor
         312 Rosa L. Parks Avenue
         Nashville, TN 37243-1102
                (615) 741-7956

         Mr. Tre Hargett, Secretary of State
         State of Tennessee
         State Capitol
         Nashville, TN 37243-1102
                (615) 741-2819

         Kerry B. Steelman, Administrator of Elections
         Hamilton County Election Commission
         700 River Terminal Road
         Chattanooga, TN 37406
                {423) 493-5100

         Mr. Herbert H. Slatery, Ill, Attorney General & Reporter
         State of Tennessee
         425 5th Avenue, N.
         Nashville, TN 37243-1102
         (615) 741-3491

  by U.S. Mail, postage prepaid, on this   ~1::t!   day of August, 2015.


                                                      Respectfully submitted,


                                               ~~ $;1f'liA~-_,
                                                         MartinS. McKay~
                                                         P. 0. Box 16006
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Case 1:15-cv-00224-HSM-SKL Document 1 Filed 08/27/15 Page 13 of 13 PageID 113
                                                                    Page #: 13
